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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 OLEG DERIPASKA,

                   Plaintiff,

          v.                                        Civil Action No. 19-cv-00727 (APM)

 STEVEN T. MNUCHIN, Secretary of the
 UNITED STATES DEPARTMENT OF
 THE TREASURY, ANDREA M. GACKI,
 DIRECTOR OF THE OFFICE OF
 FOREIGN ASSESTS CONTROL,

                   Defendants.


                        NOTICE OF SUBSTITUTION OF COUNSEL

       Please substitute undersigned counsel Amy Powell for all Defendants in this matter in

place of Nathan Swinton, who is leaving the Civil Division of the Department of Justice for other

employment. Ms. Powell’s contact information is as follows:

Amy Powell
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Dated: July 27, 2020                                Respectfully Submitted,

                                                    ETHAN DAVIS
                                                    Acting Assistant Attorney General

                                                    DIANE KELLEHER
                                                    Assistant Director, Federal Programs Branch

                                                    /s/Amy E. Powell
                                                    AMY E. POWELL
                                                    Trial Attorney, Federal Programs Branch


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